UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 DEMOCRATIC NATIONAL COMMITTEE,
                                                   Civil No. 1:18-cr-03501 (JGK)(SDA)
                       Plaintiff,
        v.

 THE RUSSIAN FEDERATION, et al,
                                                   NOTICE OF MOTION
                       Defendants.


       PLEASE TAKE NOTICE that the Defendant George Papadopoulos, will move this Court

in Courtroom 14A, of the Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street,

New York, New York 10007, on a date and at a time to be set by the Court, for an Order pursuant

to Federal Rules of Civil Procedures 12(b)(6) dismissing the Amended Complaint herein for failure

to state a claim against Mr. Papadopoulos.

       PLEASE TAKE FURTHER NOTICE that Mr. Papadopoulos joins in, relies upon and

incorporates herein by reference, each and every argument, insofar as it applies to him, made by

each and every other defendants named in the Amended Complaint.


Dated: December 6, 2018                      Respectfully submitted,
       New York, New York


                                     By:     /s/ Caroline J. Polisi
                                             Caroline J. Polisi
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                                             Attorneys for Defendant
                                             George Papadopoulos
                                 CERTIFICATE OF SERVICE

       I, Caroline J. Polisi, hereby certify that on December 6, 2018, I caused a true and correct

copy of the foregoing to be filed via the Court’s electronic filing system, which constitutes service

upon all counsel of record.

                                                      /s/ Caroline J. Polisi
                                                      Caroline J. Polisi
